Case 2:05-cr-20250-.]PI\/| Document 24 Filed 07/20/05 Page 1 of 2 Page|D 26

IN THE UNITED sTATEs DISTRICT COURT F"»E*51" /51!=' e.c.
FoR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 95 JUL 20 AH l|= 25

 

UNITED STATES OF AMERICA

 

V. 05-20250-06-Ml

TAWANDA WALLACE

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on 152 0, g 905-, the United States Attorney
for this district appeared on behalf of the go emrn mmcl#, and the defendant appeared 1n person and with
counsel:

  
 
 

NAME

BM }¢ - /%M‘J-' who is Retained/Appointed.

The defendant, throu counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

|/The defendant, who is not in custody, may stand on his present bond.
_The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U. S. Marshal.

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UNITED STATES MA ISTRATE JUDGE

CHARGES: 18:1343 & 2;

U. S. Attorney assigned to Case: C. McMullen

Age: 3 l

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This document entered on the dockets
with Hu|e 55 and/or 32(b) FHCrP on §

 

UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

   

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Honorable J on l\/lcCalla
US DISTRICT COURT

